
539 So.2d 630 (1989)
Deborah Lynn Catalanotto WALLACE, Michael Anthony Catalanotto, Peggy Sue Catalanotto Chenault and Cindy Carol Catalanotto Ballard
v.
THE UPJOHN COMPANY, J. Killian Williams, Claude Azlin, American Cyanamid Company Individually and Through its Lederle Division Bristol-Myers Company, and Through its Bristol Division Myrton J. Landry, E.R. Squibb &amp; Sons, Inc., and Pfizer, Inc., Individually and Through its Roerig Division.
No. 89-C-0316.
Supreme Court of Louisiana.
March 10, 1989.
Denied.
MARCUS, J., would grant the writ.
